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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 10-01690
         LATOYA J PAYTON

                    Debtor(s)


CHAPTER 13 STANDING TRUSTEE’S AMENDED FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/18/2010.

         2) The plan was confirmed on 03/08/2010.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
03/19/2012.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 11/09/2011.

         5) The case was completed on 11/18/2014.

         6) Number of months from filing to last payment: 58.

         7) Number of months case was pending: 67.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $10,120.00.

         10) Amount of unsecured claims discharged without payment: $29,034.45.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor               $15,364.96
       Less amount refunded to debtor                            $906.36

NET RECEIPTS:                                                                                    $14,458.60


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $3,500.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                         $711.05
    Other                                                                    $24.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $4,235.05

Attorney fees paid and disclosed by debtor:                     $0.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim        Principal      Int.
Name                                 Class   Scheduled      Asserted         Allowed         Paid         Paid
ASSET ACCEPTANCE LLC             Unsecured         562.00        417.42           417.42          41.74       0.00
ASSET ACCEPTANCE LLC             Unsecured          25.00         25.00            25.00           2.50       0.00
AT&T                             Unsecured         275.00           NA               NA            0.00       0.00
BALLYS TOTAL FITNESS             Unsecured      1,080.00            NA               NA            0.00       0.00
CBCS                             Unsecured         968.68           NA               NA            0.00       0.00
CITY OF CHICAGO DEPT OF REVENU   Unsecured      3,150.00       3,800.00         3,800.00        380.00        0.00
COMCAST                          Unsecured         411.00           NA               NA            0.00       0.00
COMCAST                          Unsecured         239.00           NA               NA            0.00       0.00
GATEWAY FINANCIAL                Secured        4,575.00       8,458.64         8,458.64      8,458.64     808.50
GATEWAY FINANCIAL                Unsecured      4,194.00            NA               NA            0.00       0.00
JEFFERSON CAPITAL SYSTEMS        Unsecured            NA         483.12           483.12          48.31       0.00
JEFFERSON CAPITAL SYSTEMS        Unsecured            NA         413.35           413.35          41.34       0.00
LEVALON PROPERTIES               Unsecured      1,869.62            NA               NA            0.00       0.00
MCSI/RMI                         Unsecured         250.00        450.00           450.00          45.00       0.00
PEOPLES GAS LIGHT & COKE CO      Unsecured      1,400.00            NA               NA            0.00       0.00
ST IL TOLLWAY AUTHORITY          Unsecured      2,500.00       3,324.80         3,324.80        332.48        0.00
T-MOBILE/T-MOBILE USA INC        Unsecured            NA         650.44           650.44          65.04       0.00
US DEPT OF EDUCATION             Unsecured      9,337.00       9,432.43         9,432.43           0.00       0.00
VILLAGE OF DOLTON                Unsecured         200.00           NA               NA            0.00       0.00
WOW CABLE                        Unsecured         357.00           NA               NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                     $0.00              $0.00             $0.00
       Debt Secured by Vehicle                            $8,458.64          $8,458.64           $808.50
       All Other Secured                                      $0.00              $0.00             $0.00
 TOTAL SECURED:                                           $8,458.64          $8,458.64           $808.50

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $18,996.56            $956.41              $0.00


Disbursements:

         Expenses of Administration                             $4,235.05
         Disbursements to Creditors                            $10,223.55

TOTAL DISBURSEMENTS :                                                                      $14,458.60


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 08/06/2015                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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